 Case 8:20-cv-02328-WFJ-CPT Document 6 Filed 10/20/20 Page 1 of 2 PageID 43




                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION

DAVID JIMENEZ,

         Plaintiff,
v.
                                                                            CASE NO. 8:20-cv-2328-T-02CPT

STATE OF FLORIDA,

      Defendant.
______________________________/

                                                      ORDER

         Mr. Jimenez, a Florida inmate, initiated this action pro se by filing a civil rights complaint

(Doc. 1). His failure to pay the filing fee is construed as a request to proceed in forma pauperis

pursuant to 28 U.S.C. ' 1915. 1

         Section 1915(g) provides:

         (g) In no event shall a prisoner bring a civil action or appeal a judgment in a civil
             action or proceeding under this section if the prisoner has, on 3 or more prior
             occasions, while incarcerated or detained in any facility, brought an action or
             appeal in a court of the United States that was dismissed on the grounds that it
             is frivolous, malicious, or fails to state a claim upon which relief may be
             granted, unless the prisoner is under imminent danger of serious physical
             injury.

28 U.S.C. ' 1915(g).

         Mr. Jimenez’s prior cases, dismissed as either frivolous, malicious, or for the failure to

state a claim upon which relief may be granted include Jimenez v. Bernie McCabe, 8:11-cv-1749-


1 Although in his complaint Mr. Jimenez appears to indicate that the Department of Corrections may be forwarding
the $400.00 filing fee for this case (see Doc. 1-1, p.1), the fee was due at the time the complaint was filed.
Moreover, because it has been more than 30 days since the complaint was filed, it is subject to dismissal for failure
to pay the filing fee. See Local Rule 1.03(e) (M.D.Fla.) (“The Clerk shall accept for filing all prisoner cases filed
with or without the required filing fee or application to proceed in forma pauperis. However, a prisoner case will be
subject to dismissal by the Court, sua sponte, if the filing fee is not paid or the application is not filed within 30 days
of the commencement of the action.”).
 Case 8:20-cv-02328-WFJ-CPT Document 6 Filed 10/20/20 Page 2 of 2 PageID 44




T- 23AEP; Jimenez v. Bernie McCabe, 8:13-cv-439-T-23AEP; and Jimenez v. Bob Dillinger,

8:13-cv-605-T-17AEP. Because he has had at least three prior dismissals that qualify under

Section 1915(g) and because he is not under imminent danger of serious physical injury, Mr.

Jimenez is not entitled to proceed in forma pauperis. This preclusion against proceeding in forma

pauperis is without regard to the merits of the present civil rights complaint. Mr. Jimenez may

initiate a new civil rights case by filing a civil rights complaint and paying the filing fee in full.

        Accordingly, the complaint (Doc. 1) is DISMISSED WITHOUT PREJUDICE to the

filing of a new complaint, in a new case, with a new case number, upon the payment of the filing

fee. The CLERK is directed to TERMINATE any pending motions and to CLOSE this case.

        DONE and ORDERED in Tampa, Florida, on October 20, 2020.




Copy to: David Jimenez, pro se




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